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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


United States of America,                             Civil No. 13-192 (1) (RHK/LIB)

                            Plaintiff,                       ORDER

v.

Melanie Rose Benais,

                            Defendant.


      Before the Court are the Objections of Defendant Benais to the October 18, 2013,

Report and Recommendation of Magistrate Judge Leo I. Brisbois. The undersigned has

conducted a de novo review of the objected to portions of the Report and

Recommendation. Based on that review, and upon all the files, records, and proceedings

herein, IT IS ORDERED:

      1. The Objections (Doc. No. 72) are OVERRULED;

      2. The Report and Recommendation (Doc. No. 71) is ADOPTED;

      3. Defendant’s Motion to Suppress Evidence Obtained as a Result of Search and

Seizure (Doc. No. 40) is DENIED; and

      4. Defendant’s Motion to Suppress Statements, Admissions, and Answers

(Doc. No. 41) is GRANTED IN PART and DENIED IN PART, as set forth in the

Report and Recommendation.

Dated: November 19, 2013

                                         s/Richard H. Kyle
                                         RICHARD H. KYLE
                                         United States District Judge
